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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                             Plaintiff,             )      8:05CR94
                                                    )
                      vs.                           )      FINAL ORDER OF
                                                    )      FORFEITURE
                                                    )
ESTRELLA ALBA-CRUZ,                                 )
LUIS ALBERTO RAMOS-MARTINEZ,                        )
                                                    )
                             Defendants.            )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 230). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On March 16, 2006, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 846 and 853, based upon the

Defendant Estrella Alba Cruz’s plea of guilty to Counts I, VI and VII of the Indictment, and

the Defendant Luis Alberto Ramos-Martinez’s plea of guilty to Counts I and IV of the

Indictment.   By way of said Preliminary Order of Forfeiture, Alba-Cruz’s interest in

$1,320.00 and Ramos-Martinez’s interest in $1,300.00 in United States currency were

forfeited to the United States.

       2. On March 30, April 6 and 13, 2006, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States to

dispose of the properties in accordance with the law, and further notifying all third parties

of their right to petition the Court within the stated period of time for a hearing to adjudicate
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the validity of their alleged legal interest(s) in said properties. An Affidavit of Publication

was filed herein on May 12, 2006(Filing No. 229).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 230) is hereby

sustained.

       B. All right, title and interest in and to the subject properties, i.e., $1,300.00 and

$1,132.00 in United States currency, held by any person or entity, are hereby forever

barred and foreclosed.

       C. The subject properties, i.e., $1,300.00 and $1,320.00 in United States currency,

be, and the same hereby are, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of

said properties in accordance with law.

       DATED this 18th day of May, 2006.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge




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